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                                           Nos. 24-6256, 24-6274

               In the United States Court of Appeals for the Ninth Circuit
                                             EPIC GAMES, INC.,
                                                           Plaintiff-Appellee,
                                                      v.
                      G OOGLE LLC; G OOGLE I RELAND , L TD .; G OOGLE C OMMERCE ,
                   L TD .; G OOGLE A SIA P ACIFIC P TE , L TD .; G OOGLE P AYMENT C ORP .,
                                                           Defendants-Appellants.

                            On Appeal from the United States District Court
                                for the Northern District of California,
                               Nos. 3:20-cv-05671-JD, 3:21-md-02981-JD

                       UNOPPOSED MOTION OF NETCHOICE AND
                  CHAMBER OF PROGRESS FOR LEAVE TO FILE AMICUS BRIEF
                        SUPPORTING DEFENDANTS-APPELLANTS’
                          MOTION FOR STAY PENDING APPEAL

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                              C ORPORATE D ISCLOSURE S TATEMENT
                                           Nos. 24-6256, 24-6274
                                             EPIC GAMES, INC.,
                                             Plaintiff-Appellee,
                                                      v.
                      G OOGLE LLC; G OOGLE I RELAND , L TD .; G OOGLE C OMMERCE ,
                   L TD .; G OOGLE A SIA P ACIFIC P TE , L TD .; G OOGLE P AYMENT C ORP .,
                                           Defendants-Appellants.

                  Under Federal Rule of Appellate Procedure 26.1, NetChoice certifies that
              it has no parent corporation, and that no publicly held company owns 10%
              or more of its stock.

                  Under Federal Rule of Appellate Procedure 26.1, Chamber of Progress
              certifies that it is a nonprofit entity organized under Section 501(c)(6) of the
              Internal Revenue Code created in and existing under the laws of Virginia
              and has no parent corporation. No publicly held company owns 10 percent
              or more of Chamber of Progress. A full list of Chamber of Progress’ partners
              is available at https://perma.cc/K5NA-FSTS.

                                                           /s/ Scott A. Keller
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                                                           Counsel for Amici Curiae




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                  Pursuant to Federal Rule of Appellate Procedure 29(b)(2), amici respect-
              fully move for leave to file the accompanying amicus brief in support of De-

              fendants-Appellants’ Emergency Motion for Partial Stay of Permanent In-
              junction Pending Appeal. All parties consent to the filing of this amicus brief.
                  Identity of Amici. NetChoice is a national trade association of online

              businesses that share the goal of promoting free enterprise and free expres-
              sion on the Internet. NetChoice fights to ensure the internet remains innova-
              tive and free. Toward those ends, NetChoice engages in litigation, amicus
              curiae work and political advocacy.
                  Chamber of Progress is a tech-industry coalition devoted to a progres-
              sive society, economy, workforce, and consumer climate. Chamber of Pro-

              gress backs public policies that build a fairer, more inclusive country in
              which the tech industry operates responsibly and fairly, and in which all
              people bene-fit from technological leaps. Chamber of Progress seeks to pro-

              tect internet freedom and free speech, to promote innovation and economic
              growth, and to empower technology customers and users.
                  Interest of Amici. Amici have a strong interest in the health and well-
              being of the mobile app economy, which produces hundreds of billions of
              dollars of economic value and creates hundreds of thousands of jobs every
              year. The district court’s unprecedented injunction amounts to judicial re-

              engineering of that crucial market, which many of amici’s members operate
              within and rely upon. Amici are therefore well-positioned to explain how
              the injunction will deter innovation in the app economy, harming the

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              consumers and small businesses that benefit most from it. Amici are likewise
              well-positioned to explain why it is important that this Court stay the district

              court’s injunction and maintain the status quo pending the full appellate
              process. The district court gave Google only eight months to comply with
              the injunction’s competitor-distribution and catalog-sharing requirements—

              and just weeks to comply with provisions altering Google’s contractual re-
              lationships with hundreds of thousands of third parties. If left in place, the
              injunction will therefore impact competition within the app economy before
              this Court can complete its review on a normal timeline.
                                               *      *     *
                  Accordingly, amici respectfully request that this Court grant leave to file

              the accompanying amicus brief in support of Defendants-Appellants’ Emer-
              gency Motion for Partial Stay of Permanent Injunction Pending Appeal.




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               Dated: October 23, 2024            Respectfully submitted.

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                                     CERTIFICATE OF COMPLIANCE
                  This motion complies with the word limit of Federal Rules of Appellate
              Procedure 27(D)(2)(A) and Circuit Rule 27-1 because this document contains
              371 words.

                  This document complies with the typeface requirements of Fed. R. App.
              P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6) because
              this document has been prepared in a proportionally spaced typeface (14-

              point Palatino Linotype) using Microsoft Word.



              Dated: October 23, 2024                     /s/ Sco A. Keller
                                                          ScoI A. Keller




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                                         CERTIFICATE OF SERVICE
                  I hereby certify that on October 23, 2024, I electronically filed the forego-

              ing with the Clerk of Court using the CM/ECF system, which will send a
              notice of electronic filing to all counsel of record who have consented to elec-
              tronic notification.
                                                           /s/ Sco A. Keller
                                                           ScoI A. Keller




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